Case 3:20-cv-06754-WHA   Document 829-11   Filed 06/29/23   Page 1 of 8




                  Exhibit 9
Case 3:20-cv-06754-WHA   Document 829-11   Filed 06/29/23   Page 2 of 8
Case 3:20-cv-06754-WHA   Document 829-11   Filed 06/29/23   Page 3 of 8
Case 3:20-cv-06754-WHA   Document 829-11   Filed 06/29/23   Page 4 of 8
Case 3:20-cv-06754-WHA   Document 829-11   Filed 06/29/23   Page 5 of 8
Case 3:20-cv-06754-WHA   Document 829-11   Filed 06/29/23   Page 6 of 8
Case 3:20-cv-06754-WHA   Document 829-11   Filed 06/29/23   Page 7 of 8
Case 3:20-cv-06754-WHA   Document 829-11   Filed 06/29/23   Page 8 of 8
